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                                              August 30, 2017

     Via CM/ECF
     Hon. Nathaniel M. Gorton
     United States District Court for the
       District of Massachusetts
     John Joseph Moakley U.S. Courthouse
     1 Courthouse Way
     Boston, MA 02210

               Re:     Meijer Inc. v. Ranbaxy Inc., Nos. 15-cv-11828, 17-mc-91266
                       Status Report regarding motion to compel third party subpoena compliance

     Your Honor:

            The Court has requested a status report regarding the motion to compel
     compliance by Endo Health Solutions, Inc. and Endo Pharmaceuticals, Inc. (collectively,
     “Endo”) with non-party subpoenas issued in Meijer Inc. v. Ranbaxy Inc., No. 15-cv-
     11828 (D. Mass.) (the “Ranbaxy Action”). Accordingly, Meijer and Endo report the
     following.

            On June 15, 2017, this Court stayed proceedings in the Ranbaxy Action pending
     consideration by the First Circuit of the defendants’ petition for interlocutory appeal. See
     Order, Meijer Inc. v. Ranbaxy Inc., No. 15-cv-11828 (D. Mass. June 15, 2017), ECF No.
     133. The First Circuit has not yet issued an order on the defendants’ petition;
     accordingly, proceedings in the Ranbaxy Action presently remain stayed.

           Given the stay of proceedings in the Ranbaxy Action, the parties submit the
     proposed stipulation, staying this proceeding for the duration of the stay in the Ranbaxy
     Action.

               I have conferred with counsel for Endo, which joins Meijer in submitting this
     letter.




SEATTLE BOSTON CHICAGO COLORADO SPRINGS LOS ANGELES NEW YORK PHOENIX SAN DIEGO SAN FRANCISCO WASHINGTON, D.C.


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                                      Respectfully,

                                      /s/ Kristie A. LaSalle

                                      Kristie A. LaSalle
                                      Associate

KAL:kl
Cc: all counsel via CM/ECF




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